        Case 1:02-vv-01211-JFM Document 109 Filed 06/26/09 Page 1 of 1




            In the United States Court of Federal Claims
                                   No. 02-1211 V
                                (Filed June 26, 2009)
 WALTER RAY GRAVES, and                   )
  LISA GRAVES as Representatives          )
 of the Estate of HAYLEY NICOLE           )
 GRAVES, Deceased,                        )
                     Petitioners,         )
                         v.               )
 SECRETARY OF THE DEPT. OF                )
 HEALTH AND HUMAN                         )
 SERVICES,                                )
                     Respondent.          )

                                      ORDER

       By the Remand Order, filed April 9, 2009, the proceedings directed did not
encompass sustainability of the compensation decision. This review issue remains
for resolution. The impact of the recent decision in Andreu v. Sec’y of Health &
Human Servs., ___ F.3d ___, 2009 WL 1688231 (Fed. Cir., June 18, 2009) will
subsequently be addressed with respect to resolving this review issue and
supplemental briefing will be requested.

      However, it would be helpful to obtain the analysis of the special master on this
matter.

        Accordingly, it is ORDERED that the special master may expand the remand
proceedings to include briefing on the impact, if any, of the Andreu ruling on the
initial compensation decision in this case and include this issue in the forthcoming
decision on remand.




                                              s/ James F. Merow
                                              James F. Merow
                                              Senior Judge
